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           16    Rimini Street, Inc. and Seth Ravin

           17                              UNITED STATES DISTRICT COURT

           18                                        DISTRICT OF NEVADA

           19    ORACLE USA, INC., et al.,                       Case No. 2:10-cv-00106-LRH-VCF
           20                          Plaintiffs,               RIMINI’S MOTION TO WITHDRAW
                                                                 DANIEL B. WINSLOW AS COUNSEL
           21           v.                                       OF RECORD

           22    RIMINI STREET, INC., et al.,

           23                          Defendants.

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Gibson, Dunn &
Crutcher LLP
                        RIMINI’S MOTION TO WITHDRAW DANIEL B. WINSLOW AS COUNSEL OF RECORD
                                            CASE NO. 2:10-CV-00106-LRH-VCF
                   Case 2:10-cv-00106-LRH-VCF Document 1534 Filed 10/04/21 Page 2 of 2


            1    TO ALL CLERKS OF THIS COURT AND ALL PARTIES OF RECORD:

            2           Pursuant to Local Rule IA 11-6(b), Defendant Rimini Street, Inc. (“Rimini”) hereby

            3    moves this Court for an order approving the withdrawal of Daniel B. Winslow as counsel of

            4    record for Rimini. Mr. Winslow has retired from his employment with Rimini and is no longer

            5    affiliated with Rimini, and Rimini therefore seeks to withdraw Mr. Winslow from this matter.

            6    Mr. Winslow should be removed from all further notices.

            7           The law firm of Gibson Dunn & Crutcher LLP, along with John P. Reilly of Rimini,

            8    and local counsel W. West Allen, continue to represent Rimini in this matter.

            9
           10    Dated: October 1, 2021

           11                                                GIBSON, DUNN & CRUTCHER LLP
           12
                                                             By: /s/ Eric D. Vandevelde
           13                                                              Eric D. Vandevelde
           14                                                Attorneys for Defendants
                                                             Rimini Street, Inc. and Seth Ravin
           15

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                 IT IS SO ORDERED:
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                            10-4-2021
                 DATED:
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           20    CAM FERENBACH
                 UNITED STATES MAGISTRATE JUDGE
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Gibson, Dunn &                                                 2
Crutcher LLP
                        RIMINI’S MOTION TO WITHDRAW DANIEL B. WINSLOW AS COUNSEL OF RECORD
                                            CASE NO. 2:10-CV-00106-LRH-VCF
